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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



     UNITED STATES OF AMERICA

            Plaintiff,

       v.                                               Civil Action No.

     RYAN COHEN

            Defendant.



                             COMPETITIVE IMPACT STATEMENT

        The United States of America (“United States”), under Section 2(b) of the Antitrust

Procedures and Penalties Act, 15 U.S.C. § 16(b)-(h) (“APPA” or “Tunney Act”), files this

Competitive Impact Statement relating to the proposed Final Judgment submitted for entry in

this civil antitrust proceeding.

I.      NATURE AND PURPOSE OF THE PROCEEDING

        On September 18, 2024, the United States filed a Complaint against Defendant Ryan

Cohen (“Cohen” or “Defendant”), relating to Cohen’s acquisitions of voting securities of Wells

Fargo & Company (“WF”) from March 2018 through September 2020. The Complaint alleges

that Cohen violated Section 7A of the Clayton Act, 15 U.S.C. § 18a, commonly known as the

Hart-Scott-Rodino Antitrust Improvements Act of 1976 (the “HSR Act”). The HSR Act requires

certain acquiring persons and certain persons whose voting securities or assets are acquired to

file notifications with the Department of Justice and the Federal Trade Commission (collectively,

the “federal antitrust agencies”) and to observe a waiting period before consummating certain

acquisitions of voting securities or assets. 15 U.S.C. § 18a (a) and (b).
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       These notification and waiting period requirements apply to acquisitions that meet the

HSR Act’s size of transaction and size of person thresholds, which have been adjusted annually

since 2004. The size of transaction threshold is met for transactions valued over $50 million, as

adjusted ($84.4 million in 2018). In addition, there is a separate filing requirement for

transactions in which the acquirer will hold voting securities in excess of $100 million, as

adjusted ($168.8 million in 2018).

       With respect to the size of person thresholds, the HSR Act requires one person involved

in the transaction to have sales or assets in excess of $10 million, as adjusted ($16.9 million in

2018), and the other person to have sales or assets in excess of $100 million, as adjusted ($168.8

million in 2018). A key purpose of the notification and waiting period requirements is to protect

consumers and competition from potentially anticompetitive transactions by providing the

federal antitrust agencies an opportunity to conduct an antitrust review of proposed transactions

before they are consummated.

       An exemption from HSR Act filings may apply under certain circumstances. Section

(c)(9) of the HSR Act, 15 U.S.C. § 18a(c)(9), exempts from the requirements of the HSR Act

acquisitions of voting securities “solely for the purpose of investment” if, as a result of the

acquisition, the securities held do not exceed 10 percent of the outstanding voting securities of

the issuer. Section 801.1(i)(1) of the HSR Rules, 16 C.F.R. § 801.1(i)(1), defines the term

“solely for the purpose of investment” as follows:

       Voting securities are held or acquired “solely for the purpose of investment” if the person
       holding or acquiring such voting securities has no intention of participating in the
       formulation, determination, or direction of the basic business decisions of the issuer
       (“Investment-Only Exemption”).




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       The Complaint alleges that Cohen acquired voting securities of WF without filing the

required pre-acquisition HSR Act notifications with the federal antitrust agencies and without

observing the waiting period. Cohen’s acquisitions of WF voting securities exceeded the $100-

million statutory threshold, as adjusted, and Cohen and WF met the then-applicable adjusted

statutory size of person thresholds. Moreover, none of Cohen’s acquisitions were exempt from

HSR Act notification and waiting period requirements under the Investment-Only Exemption.

       At the same time the Complaint was filed in the present action, the United States also

filed a Stipulation and Order and proposed Final Judgment that resolve the allegations made in

the Complaint. The proposed Final Judgment is designed to address the violation alleged in the

Complaint and penalize Cohen’s HSR Act violations. Under the proposed Final Judgment,

Cohen must pay a civil penalty to the United States in the amount of $985,320.

       The United States and Cohen have stipulated that the proposed Final Judgment may be

entered after compliance with the APPA, unless the United States first withdraws its consent.

Entry of the proposed Final Judgment will terminate this action, except that the Court will retain

jurisdiction to construe, modify, or enforce the provisions of the proposed Final Judgment and

punish violations thereof.

II.    DESCRIPTION OF THE EVENTS GIVING RISE TO THE ALLEGED
       VIOLATION

       The crux of Cohen’s violation is that he failed to submit HSR Act notifications even

though his acquisitions of WF voting securities satisfied the HSR Act filing requirements and he

was not eligible to take advantage of the Investment-Only Exemption. At all times relevant to the

Complaint, Cohen had sales or assets in excess of $10 million, as adjusted. At all times relevant

to the Complaint, WF had sales or assets in excess of $100 million, as adjusted.




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       Cohen is an entrepreneur and the managing partner of RC Ventures, LLC, a venture

capital fund. Cohen previously founded the e-commerce company Chewy, Inc., in 2011, and

was its CEO until 2018. Cohen is now the Chairman of GameStop Corp.

       Beginning in June 2016, Cohen made periodic acquisitions of WF voting securities. On

February 5, 2018, Cohen emailed WF’s CEO to suggest improvements to WF’s business

operations and to advocate for a board seat. On March 22, 2018, Cohen acquired 562,077 WF

voting securities via the open market, which resulted in his aggregated holdings to exceed the

$100 million threshold, as adjusted, which in March 2018, was $168.8 million.

       Cohen’s March 22, 2018, acquisitions of WF voting securities were not exempt under the

Investment-Only Exemption. Cohen’s intent when he made the March 22, 2018, acquisitions of

WF voting securities was to participate “in the formulation, determination, or direction of the

basic business decisions” of WF as evidenced by Cohen’s email on February 5, 2018, when he

advocated for a board seat. Although required to do so, Cohen did not file under the HSR Act or

observe the HSR Act’s waiting period prior to completing the March 22, 2018, transaction.

Cohen proceeded to have periodic communications with WF’s leadership regarding suggestions

to improve WF’s business and to advocate for a potential board seat through at least April 2020.

       From March 22, 2018, through September 2, 2020, Cohen continued to acquire WF

voting securities through open market purchases, and in twenty instances those acquisitions

exceeded 100,000 shares. For example, Cohen acquired 350,000 voting securities on August 14,

2019; 354,131 voting securities on March 10, 2020; 366,316 voting securities on July 20, 2020;

and 500,000 voting securities on August 5, 2020. All of these acquisitions were made on the

open market. Open market acquisitions require an acquirer to affirmatively and actively decide to




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acquire voting securities; in particular for very large open market acquisitions, it is not excusable

negligence to be unaware of HSR Act legal requirements.

       On January 14, 2021, Cohen made a corrective filing under the HSR Act for the

acquisition he made on March 22, 2018, which resulted in Cohen’s aggregated holdings of WF

voting securities to exceed the $100 million threshold, as adjusted. Cohen was in continuous

violation of the HSR Act from March 22, 2018, when he acquired the WF voting securities

valued in excess of the HSR Act’s $100 million filing threshold, as adjusted, through February

16, 2021, when the waiting period expired on his corrective filing.

III.   EXPLANATION OF THE PROPOSED FINAL JUDGMENT

       The proposed Final Judgment imposes a $985,320 civil penalty designed to address the

violation alleged in the Complaint, penalize the Defendant, and deter others from violating the

HSR Act. The United States adjusted the penalty downward from the maximum permitted under

the HSR Act because the violation was inadvertent and the Defendant is willing to resolve the

matter by proposed final judgment and thereby avoid prolonged investigation and litigation.

However, the penalty amount reflects that Defendant was seeking a board seat during the period

in which he was making acquisitions of WF voting securities and could no longer rely on the

Investment-Only Exemption. In addition, many of these acquisitions were large, open market

acquisitions, such that he should have been aware of his obligations under the HSR Act. Open

market acquisitions require an acquirer to affirmatively and actively decide to acquire voting

securities; in particular for very large open market acquisitions, it is not excusable negligence to

be unaware of HSR Act legal requirements. The penalty will not have any adverse effect on

competition; instead, the relief should have a beneficial effect on competition because it will




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deter the Defendant and others from failing to properly notify the federal antitrust agencies of

future acquisitions, in accordance with the law.

IV.       REMEDIES AVAILABLE TO POTENTIAL PRIVATE LITIGANTS

          There is no private antitrust action for HSR Act violations; therefore, entry of the

proposed Final Judgment will neither impair nor assist the bringing of any private antitrust

action.

V.        PROCEDURES AVAILABLE FOR MODIFICATION OF THE PROPOSED
          FINAL JUDGMENT

          The United States and the Defendant have stipulated that the proposed Final Judgment

may be entered by the Court after compliance with the provisions of the APPA, provided that the

United States has not withdrawn its consent. The APPA conditions entry upon the Court’s

determination that the proposed Final Judgment is in the public interest.

          The APPA provides a period of at least 60 days preceding the effective date of the

proposed Final Judgment within which any person may submit to the United States written

comments regarding the proposed Final Judgment. Any person who wishes to comment should

do so within 60 days of the date of publication of this Competitive Impact Statement in the

Federal Register or the last date of publication in a newspaper of the summary of this

Competitive Impact Statement, whichever is later. All comments received during this period will

be considered by the United States, which remains free to withdraw its consent to the proposed

Final Judgment at any time before the Court’s entry of the Final Judgment. The comments and

the response of the United States will be filed with the Court. In addition, the comments and the

United States’ responses will be published in the Federal Register unless the Court agrees that

the United States instead may publish them on the U.S. Department of Justice, Antitrust

Division’s internet website. Written comments should be submitted in English to:

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       The proposed Final Judgment provides that the Court retains jurisdiction over this action,

and the parties may apply to the Court for any order necessary or appropriate for the

modification, interpretation, or enforcement of the Final Judgment.

VI.    ALTERNATIVES TO THE PROPOSED FINAL JUDGMENT

       The United States considered, as an alternative to the proposed Final Judgment, a full

trial on the merits against the Defendant. The United States is satisfied, however, that the

proposed relief is an appropriate remedy in this matter. Given the facts of this case, including the

Defendant’s self-reporting of the violations and willingness to promptly settle this matter, the

United States is satisfied that the proposed civil penalty is sufficient to address the violations

alleged in the Complaint and to deter violations by similarly situated entities in the future,

without the time, expense, and uncertainty of a full trial on the merits.

VII.   STANDARD OF REVIEW UNDER THE APPA FOR THE PROPOSED FINAL
       JUDGMENT

       Under the Clayton Act and APPA, proposed Final Judgments or “consent decrees” in

antitrust cases brought by the United States are subject to a 60-day comment period, after which

the Court shall determine whether entry of the proposed Final Judgment “is in the public

interest.” 15 U.S.C. § 16(e)(1). In making that determination, the Court, in accordance with the

statute as amended in 2004, is required to consider:

               (A)     the competitive impact of such judgment, including termination of
               alleged violations, provisions for enforcement and modification, duration
               of relief sought, anticipated effects of alternative remedies actually

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               considered, whether its terms are ambiguous, and any other competitive
               considerations bearing upon the adequacy of such judgment that the court
               deems necessary to a determination of whether the consent judgment is in
               the public interest; and

               (B)     the impact of entry of such judgment upon competition in the
               relevant market or markets, upon the public generally and individuals
               alleging specific injury from the violations set forth in the complaint
               including consideration of the public benefit, if any, to be derived from a
               determination of the issues at trial.

15 U.S.C. § 16(e)(1)(A) & (B). In considering these statutory factors, the Court’s inquiry is

necessarily a limited one as the government is entitled to “broad discretion to settle with the

defendant within the reaches of the public interest.” United States v. Microsoft Corp., 56 F.3d

1448, 1461 (D.C. Cir. 1995); United States v. U.S. Airways Grp., Inc., 38 F. Supp. 3d 69, 75

(D.D.C. 2014) (explaining that the “court’s inquiry is limited” in Tunney Act settlements);

United States v. InBev N.V./S.A., No. 08-1965 (JR), 2009 U.S. Dist. LEXIS 84787, at *3 (D.D.C.

Aug. 11, 2009) (noting that a court’s review of a proposed Final Judgment is limited and only

inquires “into whether the government’s determination that the proposed remedies will cure the

antitrust violations alleged in the complaint was reasonable, and whether the mechanism to

enforce the final judgment are clear and manageable”).

       As the U.S. Court of Appeals for the District of Columbia Circuit has held, under the

APPA a court considers, among other things, the relationship between the remedy secured and

the specific allegations in the government’s complaint, whether the proposed Final Judgment is

sufficiently clear, whether its enforcement mechanisms are sufficient, and whether it may

positively harm third parties. See Microsoft, 56 F.3d at 1458-62. With respect to the adequacy of

the relief secured by the proposed Final Judgment, a court may not “make de novo determination

of facts and issues.” United States v. W. Elec. Co., 993 F.2d 1572, 1577 (D.C. Cir. 1993)

(quotation marks omitted); see also Microsoft, 56 F.3d at 1460-62; United States v. Alcoa, Inc.,

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152 F. Supp. 2d 37, 40 (D.D.C. 2001); United States v. Enova Corp., 107 F. Supp. 2d 10, 16

(D.D.C. 2000); InBev, 2009 U.S. Dist. LEXIS 84787, at *3. Instead, “[t]he balancing of

competing social and political interests affected by a proposed antitrust consent decree must be

left, in the first instance, to the discretion of the Attorney General.” W. Elec. Co., 993 F.2d at

1577 (quotation marks omitted). “The court should bear in mind the flexibility of the public

interest inquiry: the court’s function is not to determine whether the resulting array of rights and

liabilities is one that will best serve society, but only to confirm that the resulting settlement is

within the reaches of the public interest.” Microsoft, 56 F.3d at 1460 (quotation marks omitted);

see also United States v. Deutsche Telekom AG, No. 19-2232 (TJK), 2020 WL 1873555, at *7

(D.D.C. Apr. 14, 2020). More demanding requirements would “have enormous practical

consequences for the government’s ability to negotiate future settlements,” contrary to

congressional intent. Microsoft, 56 F.3d at 1456. “The Tunney Act was not intended to create a

disincentive to the use of the consent decree.” Id.

        The United States’ predictions about the efficacy of the remedy are to be afforded

deference by the Court. See, e.g., Microsoft, 56 F.3d at 1461 (recognizing courts should give

“due respect to the Justice Department’s . . . view of the nature of its case”); United States v. Iron

Mountain, Inc., 217 F. Supp. 3d 146, 152-53 (D.D.C. 2016) (“In evaluating objections to

settlement agreements under the Tunney Act, a court must be mindful that [t]he government

need not prove that the settlements will perfectly remedy the alleged antitrust harms[;] it need

only provide a factual basis for concluding that the settlements are reasonably adequate remedies

for the alleged harms.” (internal citations omitted)); United States v. Republic Servs., Inc., 723 F.

Supp. 2d 157, 160 (D.D.C. 2010) (noting “the deferential review to which the government’s

proposed remedy is accorded”); United States v. Archer-Daniels-Midland Co., 272 F. Supp. 2d



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1, 6 (D.D.C. 2003) (“A district court must accord due respect to the government’s prediction as

to the effect of proposed remedies, its perception of the market structure, and its view of the

nature of the case.”). The ultimate question is whether “the remedies [obtained by the Final

Judgment are] so inconsonant with the allegations charged as to fall outside of the ‘reaches of the

public interest.’” Microsoft, 56 F.3d at 1461 (quoting W. Elec. Co., 900 F.2d at 309).

       Moreover, the Court’s role under the APPA is limited to reviewing the remedy in

relationship to the violations that the United States has alleged in its complaint, and does not

authorize the Court to “construct [its] own hypothetical case and then evaluate the decree against

that case.” Microsoft, 56 F.3d at 1459; see also U.S. Airways, 38 F. Supp. 3d at 75 (noting that

the court must simply determine whether there is a factual foundation for the government’s

decisions such that its conclusions regarding the proposed settlements are reasonable); InBev,

2009 U.S. Dist. LEXIS 84787, at *20 (“[T]he ‘public interest’ is not to be measured by

comparing the violations alleged in the complaint against those the court believes could have, or

even should have, been alleged.”). Because the “court’s authority to review the decree depends

entirely on the government’s exercising its prosecutorial discretion by bringing a case in the first

place,” it follows that “the court is only authorized to review the decree itself,” and not to

“effectively redraft the complaint” to inquire into other matters that the United States did not

pursue. Microsoft, 56 F.3d at 1459-60.

       In its 2004 amendments to the APPA, Congress made clear its intent to preserve the

practical benefits of using judgments proposed by the United States in antitrust enforcement,

Pub. L. 108-237 § 221, and added the unambiguous instruction that “[n]othing in this section

shall be construed to require the court to conduct an evidentiary hearing or to require the court to

permit anyone to intervene.” 15 U.S.C. § 16(e)(2); see also U.S. Airways, 38 F. Supp. 3d at 76



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(indicating that a court is not required to hold an evidentiary hearing or to permit intervenors as

part of its review under the Tunney Act). This language explicitly wrote into the statute what

Congress intended when it first enacted the Tunney Act in 1974. As Senator Tunney explained:

“[t]he court is nowhere compelled to go to trial or to engage in extended proceedings which

might have the effect of vitiating the benefits of prompt and less costly settlement through the

consent decree process.” 119 Cong. Rec. 24,598 (1973) (statement of Sen. Tunney). “A court can

make its public interest determination based on the competitive impact statement and response to

public comments alone.” U.S. Airways, 38 F. Supp. 3d at 76 (citing Enova Corp., 107 F. Supp.

2d at 17).




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VIII. DETERMINATIVE DOCUMENTS

       There are no determinative materials or documents within the meaning of the APPA that

were considered by the United States in formulating the proposed Final Judgment.



Date: September 18, 2024                           Respectfully submitted,



                                                   /s/ Kenneth A. Libby
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